39 F.3d 1179
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lee Hull VANDEVANDER, Petitioner Appellant,v.Carl LEGURSKY, Warden, West Virginia State Penitentiary,Respondent Appellee.
    No. 94-6836.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 18, 1994.Decided:  Nov. 15, 1994.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Wheeling.  Frederick P. Stamp, Jr., Chief District Judge.  (CA-93-113-W)
      Lee Hull Vandevander, appellant pro se.  Silas Bent Taylor, Deputy Atty. Gen., Charleston, W VA, for appellee.
      N.D.W.Va.
      DISMISSED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Vandevander v. Legursky, No. CA-93-113-W (N.D.W. Va.  July 14, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    